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                             UNITED
                             UNITED STATES
                                    STATES DISTRICT
                                           DISTRICT COURT
                                                     COURT
 8
                           NORTHERN  DISTRICT OF CALIFORNIA
                           NORTHERN DISTRICT OF CALIFORNIA
 9                                 OAKLAND
                                   OAKLAND DIVISION
                                            DIVISION

10

11   IN
     IN RE
        RE COLLEGE
           COLLEGE ATHLETE NIL
                   ATHLETE NIL                   Case
                                                 Case No.
                                                      No. 4:20-cv-03919-CW
                                                          4:20-cv-03919-CW
     LITIGATION
     LITIGATION
12                                               [PROPOSED]
                                                 [PROPOSED] ORDER
                                                            ORDER GRANTING
                                                                   GRANTING JOINT
                                                                              JOINT
                                                 MOTION
                                                 MOTION FOR
                                                         FOR APPROVAL
                                                             APPROVAL OF
                                                                       OF
13                                               ADDITIONAL
                                                 ADDITIONAL SETTLEMENT
                                                             SETTLEMENT CLASS
                                                                          CLASS
                                                 COMMUNICATIONS
                                                 COMMUNICATIONS AS MODIFIED
14
                                                 Judge:
                                                 Judge: Hon.
                                                        Hon. Claudia Wilken
                                                             Claudia Wilken
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                                                      [PROPOSED]
                                                      [PROPOSED] ORDER
                                                                 ORDER GRANTING
                                                                        GRANTING JOINT
                                                                                  JOINT
                                                   MOTION
                                                   MOTION FOR APPROVAL OF
                                                           FOR APPROVAL  OF ADDITIONAL
                                                                            ADDITIONAL
      CASE
      CASE NO.
           NO. 4:20-CV-03919-CW
               4:20-CV-03919-CW                     SETTLEMENT
                                                    SETTLEMENT CLASS
                                                                CLASS COMMUNICATIONS
                                                                      COMMUNICATIONS
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 1          Pending before the Court is the Parties’ Joint Motion for Approval of Additional Settlement
 2 Class Communications. The Court has considered the motion, response to the motion, and all

 3   other papers relating to the motion.
 4          IT IS HEREBY ORDERED that:
 5          1.      The Joint Motion for Approval of Additional Settlement Class Communications is
 6   GRANTED.
 7          2.      The Parties are permitted to publish the revised question-and-answer (Q&A)
 8 document attached to this order as Exhibit A on the case website

 9   (www.collegeathletecompensation.com) and the website of the National Collegiate Athletic
10   Association (NCAA). The publication of the Q&A on the NCAA’s website shall include a link
11   to the case website. NCAA member institutions also may provide to prospective and current
12   student-athletes the standardized communication filed as Docket No. 586-1.
13          3.      In the future, the parties shall seek Court approval to the extent that they wish to
14   issue any additional guidance to class members.
15           IT IS SO ORDERED.
16

17   Dated: December 23, 2024                             ______________________________
                                                           CLAUDIA WILKEN
18                                                         United States Senior District Judge
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                                                              [PROPOSED] ORDER GRANTING JOINT
                                                            MOTION FOR APPROVAL OF ADDITIONAL
      CASE NO. 4:20-CV-03919-CW                             SETTLEMENT CLASS COMMUNICATIONS
